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                              EXHIBIT C


               To Declaration of Micah West in Support of
                   Motion for Preliminary Injunction
                    & Motion for Class Certification
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                                                                                        JUDGE GLENN A. GRANT
                                                                            Acting Administrative Director of the Courts




                                                                           News Release
                                                                                                     www.njcourts.com

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         First Quarter Statistics Show Criminal Justice Reform Meeting Initial Goals
First-quarter statistics released today by the Administrative Office of the Courts show Criminal Justice Reform
continues to meet its initial goals as high-risk defendants are being detained until trial and low-risk defendants
are no longer sitting in jail simply because they can no longer afford bail.

The statistical report covers the period from Jan. 1 through March 31, during which judges made initial release
decisions for 10,193 defendants.

Prosecutors, relying on a constitutional amendment that went into effect on Jan. 1, motioned for pretrial
detention in 2,256 cases. Judges granted detention in 1,262 of those cases (55.9 percent). The remaining 994
defendants were released to the monitoring of the Judiciary’s newly-created Pretrial Services Program.

Bail was imposed as a condition of release for only eight defendants.

The report also provides a breakdown of the level of monitoring assigned to those defendants released to
Pretrial Services. As of March 31, the overall breakdown of initial decisions is as follows:

    -   37.5 percent of defendants were being monitored at the highest level, which ranges from weekly visits
        and contact with pretrial services staff to electronic monitoring and house arrest;
    -   36.9 percent were being monitored at lower levels, ranging from monthly in-person visits to contact by
        phone;
    -   10.7 percent were released on their own recognizance; and
    -   12.4 percent were detained pending trial.

Judge Glenn A. Grant, acting Administrative Director of the Courts, testified before the Senate Budget and
Appropriations Committee today and said the program is off to a strong start. The Judiciary continues to meet
with the Attorney General’s Office and the Public Defender’s Office, he said, to discuss potential refinements to
Criminal Justice Reform.

“When you consider that we have replaced a system that stood for more than 70 years, the transition has been
remarkably smooth,” Grant said.

Criminal Justice Reform, Judge Grant said, has removed money as a factor in in pretrial release decisions and
replaced it with “an honest and direct conversation about whether a defendant is a risk to the community.”

“For the first time, prosecutors can now file motions seeking to have high-risk defendants held until trial. For
the first time, judges can decide to release defendants for monitoring by a newly created pretrial services unit
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until trial. And, for the first time, low-risk defendants no longer have to linger in jail for months at a time
because they cannot afford to post even modest amounts of bail,” Grant said.

The Judiciary’s statistical report is attached. The numbers provide a preliminary summary of Criminal Justice
Reform data.

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